Trump said he is not worried about
Case 9:19-cr-80056-RKA             China's10-3
                              Document     possible espionage
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 China time 21:03 Monday, April 8, 2019

 UNITED STATES

 Trump said he is not worried about
 China ' s possible espionage against Haihu
 Manor.
 April 4, 201 9, 10:26
 Mo Yu


 WASHINGTON ~Preside nt Trump said he is not worried about China's possible
 espionage at Hai hu Manor, and everything is under control . Previously, a Chinese
 woman was arrogant at Haihu Manor, and a Chinese-American businesswoman was
 pointed to Chinese businessmen to sell her contacts with senior US government
 officials, sparking some media and congressmen' s concerns about China' s
 intelligence activities in the Uni ted States.

 Trump said in a meeting with senior mil itary officials at t he White House on
 Wednesday that he saw re l evant reports and heard a briefing. He said: NI am not
 worried at all. I have very good control.        N




 He said that it is only an accidental incident for a Chinese woman to enter hi s
 private club by lying. He also praised the employees and Secret Service of the
 club for their problems.

 Yujing Zhang, a 32-year-old Chinese woman, was arrested after enteri ng Hai hu
 Manor on Satur day. According to the criminal compl aint filed by the US federal
 government on the court on Monday, she was accus ed of lying to fe deral agents and
 entering t he restricted area without authorization.

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 Senate Minority Leader Schumer, Senator Mark Warner and Diane Feinstein sent a
 letter to t he Federal Bureau of Investigation (FBI), Christopher Ray, asking the
 FBI to "assess the risks of the Sea Lake Manor, a risk that comes from An area
 where public and foreigners can enter and exit to set up areas for handling
 confidential information. N

 The three Democratic leaders said that Zhang Yujing was able to easily enter the
 Haihu Manor during President Trump' s weekend stay, exposing the serious security
 problems of the property, and Haihu Manor is said to be the target of foreign
 intelligence agencies.

 When the incident occurred, President Trump played golf nearby and was not at
 Haihu Manor. The media reported that President Trump did not see the woman.

 According to the complaint filed by the US federal government, Zhang Yujing said
 to the Secret Service agent that she was a club member when she entered the Haihu
 Manor. She wanted to use the swimming pool inside, but after entering the manor,
 she was cal l ed by another secret service agent. Another change said that a
 Chinese friend named #Charles# invited her to come to Shanghai from Palm Beach in
 Florida to participate in a #United Nations Friendship# event and was close to
 President Trump's family. Talking about US- China economic relations.

 Zhang Yujing' s activities are similar to the name of an organization called the
 United Nations Chinese Friendship Association, whose secretary is Charles Lee.

 The #United Nations Chinese Friendship Association# in Baidu' s entry (now
 deleted) said that the association is #registered by the UN Economic and Social
 Council civil society organization, registered with the US Delaware State
 Government, New York City, New York State Government notarized, Chinese
 government The non-profit, non-governmental organization sponsored by the Chinese
 Consulate in New York, accredited by the Chinese Embassy in the United States.
 The so-called senior advisory steering group listed on the entry includes Ban Ki-
 moon, former US President Bill Clinton and Microsoft founder. Bill Gates and
 other politi cal and business celebrities, honorary presidents include US
 Congressman Meng Zhaowen and Zhao Meixin, Hong Kong' s richest man Li Ka-shing and
 more than 10 people.




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 The organization said on its website (now inaccessible) that Charles was "the
 first person to enter the United Nations to establish a Chinese association" and
 posted many photos of Charles and Chinese and foreign political figures. These
 celebrities include UN Secretary- General Guterres, former Secretary-General Ban
 Ki-moon, US President Trump, and senior Chinese officials. Some of the pictures
 on the picture also call Charles "Prince Charles."

 However, the United Nations Chinese Friendship Association and the United Nations
 do not seem to be in contact.

 Earlier, Chi nese media reported that some organizations that are "United Nations"
 are actuall y "cottage United Nations", including this "United Nations Chinese
 Friendship Association". As long as they pay, they can join the club and
 participate i n some "high-end activities." According to the report, the payee of
 the remittance is a "Peace Peaceful Enterprise Management Co., Ltd." and is a
 private company registered in Beijing.

 According to online information, Charles had promoted a so-called "business
 travel and f olk diplomacy" to the United States in 2018. One of the schedules
 was to attend Trump' s sister' s welcome dinner and exchange photos with Trump' s
 sister and ot her outstanding figures.

 The micro- s i gnal associated with Charles also recently launched a charity meeting
 with former US President Bill Clinton in New York this month, which also said
 that they can share photos with the Clintons and other political and business
 celebrities. In addition, this micro- signal also promotes business travel and
 celebrity exchange activities in various places in China and abroad.

 The Miami Herald said that Charles Lee was a business partner of Cindy Yang, a
 Florida-based businesswoman who became a news person a few days ago. The
 immigrant from Northeast China was accused of deliberately approaching President
 Trump and his family and other Republican high-level figures, including attending
 an event held at President Trump's Haihu Manor, and also selling her contacts
 with the upper US.




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 nMiami Heraldn said that Zhang Yujing' s event on March 30 was a event called Yang
 Sai called Safari Night. Charles Lee also promoted the event on WeChat and posted
 him on the advertisement. A photo of Yang Li. Yang Li also introduced another
 event called "Top Private Private Club" held at Haihu Manor on March 30th. Both
 events were later cancelled.

 Yang Li denied knowing Charles Lee and the Chinese woman who was good at Haihu
 Manor. Yang ' s lawyer, Evan W. Turk, said in a statement: "Our client claims
 that she does not know the woman who was arrested at Haihu Manor on the weekend.
 Li mentioned in some articles The doctor took photos with our client twice. In
 addition, she said that she had no contact with him. n

 Yang Li previously posted a photo with President Trump on social media, which
 made her involved in the political whirlpool. Some allegations that she pedd the
 Chinese merchants' channels of contact with US politicians, and may also violate
 the US campaign fund law and participate in organizations such as the Peaceful
 Reunificati on Promotion Association and the US-US Association for Science and
 Technology, which have close ties with the Chinese government. It is a Chinese
 spy.

 When President Trump answered the reporter at the White House on Wednesday about
 whether Yang Li was his friend, he replied that he did not know Yang Li and did
 not know her. As for why Yang Li appeared in a photo, President Trump said that
 he often took photos with other people, sometimes hundreds of times a day, but
 did not know Yang Li.

 Media reports about Yang Li have also attracted the attention of Democratic
 leaders in Congress, and they asked the FBI to conduct criminal and anti-espion
 investigations on Yang. Participated in the organization nPeaceful Reunification
 Promotion Associationn and nTraveling Science and Technology Associationn, which
 are closely r elated to the Chinese government, and may be Chinese spies.

 Yang Li told the media that she did not commit any illegal activities. She told
 NBC News: nI am a Republican. I am Chinese. So the Democratic Party must check
 me.




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